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                         UNITED STATES DISTRICT COURT FOR THE
13                         NORTHERN DISTRICT OF CALIFORNIA
                                   SAN JOSE DIVISION
14
                                                        Misc Case No. 5:24-mc-80209-SVK
15   RAE STEWARD,
                                                        Underlying Litigation: No Labels v.
16                  Plaintiff,                          Nolabels.com Inc., No 23 Civ. 1384 (D. Del.)
17          v.                                          JOINT STATUS UPDATE
18   NO LABELS,
                                                        Date:           11/8/2024
19                  Defendant.
20
            Pursuant to the Court’s October 24, 2024 Tentative Rulings, ECF 28 at 2, the parties
21
     write jointly to inform the Court that the parties have met and conferred and have reached an
22
     agreement on a search protocol, consistent with the Court’s Tentative Rulings, and do not need
23

24   further intervention from the Court at this time. Accordingly, the Parties respectfully request that

25   the November 13, 2024 hearing be vacated. The Parties thank the Court for its guidance and will

26   advise the Court of any issues or disputes, should any arise.
27                           [SIGNATURES APPEAR ON THE NEXT PAGE]
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     STEWARD V. NO LABELS (NO. 5:24-MC-80209-SVK)
     JOINT STATUS UPDATE - 1
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     STEWARD V. NO LABELS (NO. 5:24-MC-80209-SVK)
     JOINT STATUS UPDATE - 2
